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                                                                                          File Date: 12/6/2019 12:32 PM
             Case 1:19-cv-01225-LM Document 1-2 Filed 12/12/19 Page 1 of 5                 Rockingham Superior Court
                                                                                                      E-Filed Document
                                                                               EXHIBIT 2

                              THE STATE OF NEW HAMPSHIRE

ROCKINGHAM, SS.                                                             SUPERIOR COURT
                                        Katherine Addie                     218-2019-CV-01698

                                               v.

                       Core Physicians, LLC d/b/a Core Physician Services
                                              and
                                 Exeter Health Resources, Inc.

                     NOTICE OF REMOVAL FROM THE
             NEW HAMPSHIRE COMMISSION FOR HUMAN RIGHTS
        AND REQUEST FOR JURY TRIAL PURSUANT TO NH RSA 354-A:21-a

       NOW COME Defendants, CORE PHYSICIANS, LLC d/b/a CORE PHYSICIAN

SERVICES and EXETER HEALTH RESOURCES, INC., by and through their attorneys,

JACKSON LEWIS P.C., and hereby give notice of their intent to remove Plaintiff’s Charge of

Discrimination to the Rockingham County Superior Court, pursuant to the provisions of NH

RSA 354-A:21-a, for the following reasons:

       1.       On or about January 18, 2017, Katherine Addie dual-filed a Charge of

Discrimination with the New Hampshire Commission for Human Rights (“NHCHR”)

(Charge No. ED(R) 0050-17) and the Equal Employment Opportunity Commission (“EEOC”)

(Charge No. 16D-2017-00051) against Core Physicians, LLC d/b/a Core Physician Services and

Exeter Health Resources, Inc. A copy of the Charge of Discrimination is appended hereto as

Exhibit 1.

       2.       By letter dated November 15, 2019, mailed by the NHCHR to Defendants on

November 18, 2019, and received on November 25, 2019, the NHCHR issued a partial finding of

probable cause and scheduled a public hearing to be held on January 8, 2020, under the authority

of NH RSA 354-A:21, on the issue of whether Plaintiff was retaliated against due to her
            Case 1:19-cv-01225-LM Document 1-2 Filed 12/12/19 Page 2 of 5



disability in violation of the Americans with Disabilities Act (ADA) and the NH RSA 354-A, et

seq.

       3.      Defendants deny Plaintiff’s claims in their entirety.

       4.      Defendants wish to exercise their right to a jury trial in this court pursuant to the

provisions of NH RSA 354-A:21.

                                              Respectfully Submitted,
                                              CORE PHYSICIANS, LLC d/b/a
                                              CORE PHYSICIAN SERVICES and
                                              EXETER HEALTH RESOURCES, INC.,
                                              By their attorneys,
                                              JACKSON LEWIS P.C.,


Date: December 6, 2019                        By:     /s/Debra Weiss Ford
                                                      Debra Weiss Ford, NH Bar #2687
                                                      100 International Drive, Suite 363
                                                      Portsmouth, NH 03801
                                                      603.559.2727
                                                      debra.ford@jacksonlewis.com

                                       Certificate of Service

I hereby certify that copies of the foregoing were this day served, via email and first class mail
on:

Keri J. Marshall, Esq.                                Sarah E. Burke Cohen, Esq.,
Marshall Law Office                                   Assistant Director
47 Depot Road                                         N.H. Commission for Human Rights
East Kingston, NH 03827                               2 Industrial Park Drive
mlaw@nh.ultranet.com                                  Concord, New Hampshire, 03301
                                                      Sarah.Burke.Cohen@nh.gov

Date: December 6, 2019                        By:     /s/Debra Weiss Ford
                                                      Debra Weiss Ford




                                                  2
                            Case 1:19-cv-01225-LM Document 1-2 Filed 12/12/19 Page 3 of 5
                                                                                                                                                      EXHIBIT 1
EEOC FORM 131-A (11/09)                U.S. Equal Employment Opportunity Commissio
                                                                                                            PERSON FILING CHARGE




                                                                                                                       Katherine Addie
                                                                                                            THIS PERSON (check one or both)
                                                                                                             ,
     CORE PHYSICIANS, LLC.                                                                                     X Claims To Be Aggrieved
     118 Portsmouth Avenue
     Stratham, NH 03885                                                                                           1 Is Filing on Behalf of Other(s)

                                                                                                           EEOC CHARGE NO.
                                                                                                                    16D-2017-00051
                                                                                                           FEPA CHARGE NO.
                                                                                                                     ED(R) 0050-17
         NOTICE OF CHARGE OF DISCRIMINATION IN JURISDICTION WHERE A FEP AGENCY WILL INITIALLY PROCESS
                                                            (See the enclosed for additional information)

     THIS IS NOTICE THAT A CHARGE OF EMPLOYMENT DISCRIMINATION UNDER

       r  i Title VII of the Civil Rights Act (Title VII)           The Equal Pay Act (EPA)                 X    The Americans with Disabilities Act (ADA)

              The Age Discrimination in Employment Act (ADEA)                          The Genetic Information Nondiscrimination Act (GINA)
                                                                                ,

     HAS BEEN RECEIVED BY

           The EEOC and sent for initial processing to
                                                                                                             (FEP Agency)

     X     The     New Hampshire Commission for Human Rights                                                       and sent to EEOC for dual filing purposes.
                                                            (FEP Agency)

     While EEOC has jurisdiction (upon expiration of any deferral requirement if this is a Title VII, ADA or GINA charge) to investigate this
     charge, EEOC may suspend its investigation and await the issuance of the Agency's final findings and orders. These findings and
     orders will be given weight by EEOC in making its own determination as to whether reasonable cause exists to believe that
     discrimination has occurred.

     You are therefore encouraged to cooperate fully with the Agency. All facts and evidence provided by you to the Agency will be
     considered by EEOC when it reviews the Agency's final findings and orders. In many cases EEOC will take no further action, thereby
     avoiding the necessity of an investigation by both the Agency and EEOC. This likelihood is increased by your active cooperation with
     the Agency.

     As a party to the charge, you may request that EEOC review the final findings and orders of the above-named Agency.
     For such a request to be honored, you must notify EEOC in writing within 15 days of your receipt of the Agency's final decision and
     order. If the Agency terminates its proceedings without issuing a final finding and order, you will be contacted further by EEOC.
     Regardless of whether the Agency or EEOC processes the charge, the Recordkeeping and Non-Retaliation provisions of the statutes
     as explained in the enclosed information sheet apply.
     For further correspondence on this matter, please use the charge number(s) shown above.


     Enclosure(s): Copy of Charge

CIRCUMSTANCES OF ALLEGED DISCRIMINATION

 ❑       Race ❑ Color       ❑    Sex ❑ Religion        ❑ National Origin ❑ Age                Disability     )( Retaliation   ❑ Genetic Information    n     Other




See enclosed copy of charge of discrimination.



Date                        Name / Title of Authorized Official                                                 Signature

                            Kevin J. Berry,
January 18, 2017            District Director
                     Case
       rcQvap&I V 111.11              1:19-cv-01225-LM Document 1-2 Filed 12/12/19 Page 4 of 5
 EEOC Form 5 (11/09);

        JAN 1 814
               J111ARGE OF DISCRIMINATION                                                                   Charge Presented To:                  Agency(ies) Charge No(s):
       NH dayisteild by the Privacy Act of 1974. See enclosed Privacy Act                                         X    FEPA                                 ED (R) 0050-17
                                 nd other information before completing this form.
     FOR HUMAN RIGHTS                                                                                             X EEOC                                    16D-2017-00051
                                                  New Hampshire Commission for Human Rights                                                                                and EEOC
                                                                            State or local Agency, if any
Name (indicate Mr., Ms., Mrs.)                                                                                          Home Phone (Incl. Area Code)                     Date of Birth

 Katherine Addle                                                                                                           (603) 244-5433
Street Address                                                                       City, State and ZIP Code

20 Hollywood Avenue                                                           Raymond, NH 03077


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                                    No. Employees, Members             Phone No. (Include Area Code)
CORE PHYSICIANS, LLC
                                                                                                                           201 - 500                          (603) 778-1620
D/B/A CORE PHYSICIAN SERVICES                                                                                                                    ..)
Street Address                                                                       City, State and ZIP Code
118 Portsmouth Avenue                                                         Stratham, NH 03885


Name                                                                                                                    No. Employees, Members             Phone No. (Include Area Code)

 Exeter Health Resources, Inc.                                                                                             201 - 500                          (603) 778-7311
Street Address                                                                       City, State and ZIP Code
7 Holland Way                                                                    Exeter, NH 03833

DISCRIMINATION BASED ON (Check appropriate box(es).)                                                                             DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                                       Earliest              Latest
          RACE               COLOR                   SEX                 RELIGION                NATIONAL ORIGIN                   10-04-2016                        11-03-2016
         X     RETALIATION         pi       AGE        X     DISABILITY           pi        GENETIC INFORMATION

                   X    OTHER (Specify)        RSA 354-A                                                                                         CONTINUING ACTION

THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
       1. I am a disabled person.
       2. Core Physicians hired me on or about 1111/2004 as a full time Certified Medical Assistant at its
           Stratham, New Hampshire location.
       3. My reviews have generally been above average.
       4. On 6/2/16, I began medical. leave.
       5. I returned to work on approximately 6114/16.
       6. On 8/2/16, 1 fell and injured myself at work while assisting an ill patient.
       7. I provided a doctor's note requiring physical therapy for me to recover from the injury.
       8. I scheduled physical therapy appointments as early or late in the day as possible to minimize
           time away from work.
       9. On 8/22/16, I became ill at home and required medical attention.
       10. I worked the three subsequent days.
                                                                                       CYp; '9fi,1 vvrgA@.01
I want this charge filed with both the EEOC and the State or local Agency, if any. I                        --   hen n cessary     fate and Local Agency PINuirements
will advise the agencies If I change my address or phone number and I will                                                                           01111111/////#1
cooperate fully with them in the processing of my charge in accordance with their                                                                      , \\,\I). E. CA I/
procedures.                                                                                                                             ' W.."* "."""\,.                           ,
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I declare under penalty of perjury that the above is true and correct.                          the best of my knowledge, informationiindiallef IV/ T                            % S.
                                                                                                SIGNATURE 0 OMPLAINANT              ::.    coMMISSION                            A ----

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EEOC Form 5 (11/09)

                      CHARGE OF DISCRIMINATION                                                             Charge Presented To:          Agency(ies) Charge No(s):
            This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                        [1] FEPA                      ED (R) 0050-17
                   Statement and other information before completing this form.
                                                                                                                   EEOC                      16D-2017-00051
                                                New Hampshire Commission for Human Rights                                                                  and EEOC
                                                                           State or local Agency, if any
       11. On 8/26/16, I began medical leave.
       12. I returned to work on 9/6/16.
       13. On 10/4/16,1 received a warning from Practice Manager Hope Libby related to refrigeration of
           vaccines during July 2016.
       14. On 11/3/16, I received a second warning from Family Practice Manager Suzanne Ciufetti and
           Human Resources Manager Linda Currier for poor attendance and for failing to clock out
           when going to physical therapy.
       15. Company policy does not mention the requirement to clock out for appointments necessitated
           by a work-related injury, and no one informed me this was necessary.
       16. I marked that I went to physical therapy on all my time sheets.
       17. An hour after receiving the warning, Ms. Ciufetti and Ms. Currier again asked to meet with me.
       18. Ms. Ciufetti and Ms. Currier told me they were discharging me for fraudulently remaining
           clocked in while at physical therapy.
       19.1 assert that the employer discharged me due to the disability related absences for which I
           provided medical notes.
       20. I further assert that the employer retaliated against me due to my request for the reasonable
           accommodation of necessary medical absences.
       21. I have and continue to suffer damages, including but not limited to lost wages, lost earning
           capacity, lost employment benefits, emotional distress, humiliation, inconvenience, and loss
           of enjoyment of life. I seek all damages to which I am entitled.




I want this charge filed with both the EEOC and the State or local Agency, if any. I           ,•A         • hen ecess
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will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their                                                                01111111Iliiik,
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I declare under penalty of perjury that the above is true and correct.                         the be -I o y knowledge, information andzfiillei,•              ••.S '%::,
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